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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION



 NCS MULTISTAGE,                                     §
             Plaintiff                               §
                                                     §      6:20-CV-00622-ADA
 -v-                                                 §
                                                     §
 TCO AS,                                             §
                    Defendant                        §
                                                     §


                              CLAIM CONSTRUCTION ORDER

        Before the Court are the parties’ claim construction briefs: Plaintiff NCS Multistage’s

(NCS) opening and responsive briefs (ECF No. 67 and 69, respectively) and Defendant TCO

AS’s opening and responsive briefs (ECF No. 73 and 75, respectively). The Court held the

Markman hearing on June 4, 2021. ECF. No. 87. During that hearing, the Court informed the

Parties of the constructions it intended to provide. This Order does not alter any of those

constructions.

   I.     Background

        NCS Multistage filed this lawsuit on July 9th, 2020 alleging that TCO infringed on

U.S. Patent No. 10,465,445 (‘445). ECF No. 1. NCS Multistage then filed their First Amended

Complaint on January 22, 2021. ECF. No. 50. TCO answered on February 9th, 2021. ECF. No.

57. NCS Multistage asserts claims 14-15, 22-25, 27-29, 36-43, 46,50-53, and 55-57. ECF. No 50

at 7.

         The ‘445 Patent is a “casing float tool.” ECF No. 50 at 4. This float tool is intended to

reduce horizontal drag when the casting string is run into the horizontal portion of a wellbore. Id.

In this system, the string is run into the wellbore with a tubular body attached to the casing

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string. Id. Within the tubular body, and capping it off, is the rupture disc. Id. While placing the

string, the tubular is filled with air, creating buoyancy in the lower portion of the string and

reducing drag between the string and the wall of the horizontal portion of the wellbore. Id. at 5.

Once the string is set, “hydraulic pressure is applied from the surface, which causes the rupture

disc to disengage from the tubular walls and shatter.” Id. Importantly, the shattering is a result of

the disengagement with a casing ring and not a result of the hydraulic pressure. As stated in the

brief summary “hydraulic pressure does not cause the rupture of the disk all by itself.” ’445

Patent at 2:14-15. Once the “cap” is shattered, fluid, concrete in most instances, can flow through

the tubular and around the casing. Id.

  II.     Legal Principles

        The general rule is that claim terms are generally given their plain and ordinary meaning.

Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc); Azure Networks, LLC v.

CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014) (“There is a heavy presumption that claim terms

carry their accustomed meaning in the relevant community at the relevant time.”) (vacated on

other grounds). The plain and ordinary meaning of a term is the “meaning that the term would

have to a person of ordinary skill in the art in question at the time of the invention.” Philips, 415

F.3d at 1313.

        “‘Although the specification may aid the court in interpreting the meaning of disputed

claim language, particular embodiments and examples appearing in the specification will not

generally be read into the claims.’” Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182,

1187 (Fed. Cir. 1998) (quoting Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571

(Fed. Cir. 1988)). “[I]t is improper to read limitations from a preferred embodiment described in

the specification—even if it is the only embodiment—into the claims absent a clear indication in



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the intrinsic record that the patentee intended the claims to be so limited.” Liebel-Flarsheim Co.

v. Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir. 2004).

         Although extrinsic evidence can also be useful, it is “‘less significant than the intrinsic

record in determining the legally operative meaning of claim language.’” Phillips, 415 F.3d at

1317 (quoting C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 862 (Fed. Cir. 2004)).

Technical dictionaries may be helpful, but they may also provide definitions that are too broad or

not indicative of how the term is used in the patent. Id. at 1318. Expert testimony also may be

helpful, but an expert’s conclusory or unsupported assertions as to the meaning of a term are not.

Id.

         The “only two exceptions to [the] general rule” that claim terms are construed according

to their plain and ordinary meaning are when the patentee (1) acts as his/her own lexicographer

or (2) disavows the full scope of the claim term either in the specification or during prosecution.

Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012). To act as

his/her own lexicographer, the patentee must “clearly set forth a definition of the disputed claim

term,” and “clearly express an intent to define the term.” Id. at 1365. To disavow the full scope

of a claim term, the patentee’s statements in the specification or prosecution history must

represent “a clear disavowal of claim scope.” Id. at 1366. Accordingly, when “an applicant’s

statements are amenable to multiple reasonable interpretations, they cannot be deemed clear and

unmistakable.” 3M Innovative Props. Co. v. Tredegar Corp., 725 F.3d 1315, 1326 (Fed. Cir.

2013).

         Courts presume that the preamble does not limit the claims. Am. Med. Sys., Inc. v.

Biolitec, Inc., 618 F.3d 1354, 1358 (Fed. Cir. 2010) (quoting Allen Eng’g Corp. v. Bartell Indus.,

Inc., 299 F.3d 1336, 1346 (Fed. Cir. 2002)) (“Generally,” we have said, “the preamble does not



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limit the claims.”). But “[i]n general, a preamble limits the invention if it recites essential

structure or steps, or if it is ‘necessary to give life, meaning, and vitality’ to the claim.” Catalina

Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002) (quoting Pitney

Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed. Cir. 1999)). “Conversely, a

preamble is not limiting ‘where a patentee defines a structurally complete invention in the claim

body and uses the preamble only to state a purpose or intended use for the invention.’” Catalina,

289 F.3d at 808 (quoting Rowe v. Dror, 112 F.3d 473, 478 (Fed. Cir. 1997)). The Federal Circuit

has provided some “guideposts” regarding whether the preamble is limiting: (1) preamble

provides antecedent basis, (2) preamble is essential to understand limitations or terms in the

claim body, (3) preamble recites “additional structure or steps underscored as important by the

specification,” and (4) “clear reliance on the preamble during prosecution to distinguish the

claimed invention from the prior art.” Catalina, 289 F.3d at 808–09.

   The order in which steps of a method appear in a claim is not a limitation on that claim

unless either (1) “as a matter of logic or grammar, [the steps] must be performed in the order

written” or (2) the specification “directly or implicitly requires such a narrow construction.”

Altiris Inc. v. Symantec Corp., 318 F. 3d 1363, 1369-70 (Fed. Cir. 2003) (internal quotations and

citations omitted). The specification and prosecution history can support a construction

requiring the steps to be performed in the order written in the claims. See, e.g., Loral Florchild

Corp. v. Sony Corp., 181 F.3d 1313, 1321–22 (Fed. Cir. 1999); Function Media, LLC v. Google,

Inc., 708 F.3d 1310, 1320 (Fed. Cir. 2013).

  III.    Legal Analysis

   Previous constructions by a court are not binding but are considered highly persuasive and

would require a convincing new argument or evidence to be overcome. Crossroads Sys. v. DOT



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Hill Sys. Corp., No. A-13-CA-800-SS, 2015 U.S. Dist. LEXIS 77531, at *9 (W.D. Tex. June 15,

2015). Because of the considerable weight given to previous constructions of identical or nearly

identical terms in the ongoing litigation of NCS Multistage v. Nine Energy Serv., the Court has

determined that “region of the tubular member where rupture disc is attached…,” “rupture burst

pressure,” “a rupturing force greater than the rupture burst pressure,” and “specific gravity of the

well fluid" will be construed as plain and ordinary meaning.

           A. “Sealed Chamber” (Claim 8, 14, 22, 36, 40, 42, 46, and 50)

 NCS Multistage’s Proposed Construction               TCO AS’s Proposed Construction
 Plain and ordinary meaning.                          Substantially fluid-tight chamber where the
                                                      rupture disc forms an upper seal of the
                                                      chamber, a float device forms a lower seal of
                                                      the chamber, and a casing string there between.

       NCS construes that there is no ambiguity in the term “sealed chamber” and that a person

of ordinary skill in the art (POSITA) can easily explain the term to the jury. ECF No. 67 at 5.

They argue that TCO’s construction improperly narrows the term “sealed chamber” by

restricting the definition of the lower seal of the chamber. Id. NCS points to two names for the

lower seal used in other claims that would be restricted if TCO’s construction is accepted, a “flat

shoe,” and the “lower seal is within a float collar.” Id.

       TCO first raises the issue by claiming that the Court instructs the jury on the explanation

of a claim term, and not a person of ordinary skill in the art. ECF No. 69 at 5. Importantly,

because NCS’s construction is plain and ordinary, the Federal Circuit has stated, “[w]e have

made clear, moreover, that the ordinary and customary meaning of a claim term is the meaning

that the term would have to a person of ordinary skill in the art in question at the time of the

invention.” Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005). Implying that the

person of ordinary skill in the art would be able to vocalize the meaning as they understood it.


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TCO also believes that NCS “chose to be its own lexicographer and its attempt to broaden the

scope of the claims of the ‘445 patent is transparent.” Id. Their argument hinges on the

presumption that the definition of a “sealed chamber” given in the patent is not plain and

ordinary and that the drafters felt compelled to include this definition to make that clear. TCO

then cites the patent and shows that their construction conforms to the given definition in the

‘445 Patent and does not exclude any specific embodiment from the specification. ‘445 at 4:19-

30; Id.

          The court agrees with NCS’s construction of plain and ordinary meaning for several

reasons. First, construing a “float device” to form the lower seal of the chamber, when other

terms are used in separate claims, could unnecessarily confuse either a POSITA or a member of

the jury. Second, the court believes that the patentee did not choose to be its own lexicographer

in claim four of the ‘445 Patent lines 19-30. The definition provided in this section is consistent

with the plain and ordinary meaning and does not broaden the scope of the claim. While TCO’s

construction appears to be consistent with parts of the definition provided, the construction

neither further elaborates nor makes clear the definition and is therefore unnecessary. And lastly,

as previously stated, and contrary to TCO’s assertion, because NCS’s construction is plain and

ordinary meaning the term must satisfy the barrier of being understood by a POSITA who in turn

would explain the definition to a jury; it is not the Court who explains the plain and ordinary

definition to a jury.




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           B. “Within the Upper and Lower Ends” (Claims 1, 8, 14-15, 22-25, 27-29, 36-43,
              46, 50-53, and 55-57)

 NCS Multistage’s Proposed Construction               TCO AS’s Proposed Construction
 Plain and Ordinary Meaning                           Inside of the upper and lower ends

       TCO moves to change “within” to “inside,” claiming that “within” does not have a plain

and ordinary meaning. ECF No. 69 at 6. Contrary to their own statement, TCO points to extrinsic

evidence that the definition of within is “in or into the inner part,” indicating the dictionary

definition of “within” as plain and ordinary. Id. at 7. TCO then points out that “a POS[IT]A

would understand that ‘within the upper and lower ends’ means ‘inside the upper and lower

ends,’” proving NCS’s point. Id. at 6. As previously stated, “the ordinary and customary

meaning of a claim term is the meaning that the term would have to a person of ordinary skill in

the art in question at the time of the invention.” Phillips, 415 F.3d at 1313. TCO then focuses a

significant portion of their argument against what they believe to be NCS’s construction that

changes “within” to “between.” Id. Importantly, NCS did not create this construction. NCS’s

construction has been and remains to be “plain and ordinary meaning” and has made no attempts

to alter “within” to “between.” ECF No. 67 at 6.

       Because “within” can be plainly understood and explained to a jury by a POSITA, and

because NCS does not attempt to construe the meaning of “within” to mean “between,” the Court

agrees with NCS’s construction of plain and ordinary meaning.




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              C. Preamble: “A float tool configured for use in positioning a casing string in a
                 wellbore…” (Claims 1, 28, 30, and 31)

 NCS Multistage’s Proposed Construction               TCO AS’s Proposed Construction
 No construction necessary, the preamble is           The preamble is limiting because, when read in
 not limiting.                                        the context of the entire claim, the preamble
                                                      either recites limitations of the claim, or is
                                                      necessary to give life, meaning, and vitality to
                                                      the claim limitations.

        The parties have two limitation disputes over the identical preambles in claims 1 and 28.

First, whether the bodies of claims 1, 28, 30, and 31 rely on the preamble for the phrase “casing

string,” and second whether the preamble defines essential structure. ECF No. 69 at 8.

        NCS contends that there is nothing that qualifies as essential structure or steps necessary

to understand the claims. ECF. No. 67 at 9. They argue that the bodies of claims 1 and 28, and

not the preamble, recite the components of a rupture disc assembly. Id. Whereas the preamble

states the “purpose or intended use” as “a float tool to position a casing string in a wellbore with

fluid.” Id.

        TCO rebuts by claiming that the preambles are indeed limiting because they “[recite]

essential structure” and/or “[are] necessary to give life, meaning, and vitality to the claim.” Shoes

by Firebug LLC v. Stride Rite Children’s Grp., LLC, 962 F.3d 1362, 1367 (Fed. Cir. 2020)

(internal citations omitted.) ECF No. 69 at 8. TCO specifically points to the preamble as the

“antecedent basis for the phrase ‘casing string’.” Id. To which NCS responds with the same case

law. ECF No. 73 at 4. NCS uses Firebug and found that “antecedent basis alone is not

determinative of whether a preamble is limiting.” F.3d at 1367. NCS shows that the “casing

string” description in the preamble does not “recite essential structure” and that it is merely used

to describe the intended purpose of the claimed apparatus of claims 1 and 28, the rupture disc

assembly. Catalina Mktg. Int’l v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002); ECF


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No. 73 at 5. And lastly, TCO claims that both the examiner and NCS relied on the preamble of

claims 1 and 28 for the structure for the “limitation that the [internal diameter] of the disc

attachment is larger and parallel to the [internal diameter] of the casing.” ECF No. 69 at 8. NCS

explains that the preamble was not relied upon for understanding because this comparison of

internal diameters was used as a reference point to describe the rupture disc’s internal structure

and that a POSITA would understand this obvious limitation without looking at the preamble,

thus, not relying on it. ECF No. 73 at 4.

       The Court finds that the preamble is not limiting. Upon examination, there is no reliance

in the body of claims 1, 28, 30 and 31 on the preamble of claims 1 and 28. By TCO’s own test, in

the opinion of the court, deleting the preamble would not render the body of the claims

nonsensical and the reference to internal diameters is not a statement of structure, but rather used

as a reference point. ECF No. 75 at 4; ECF No. 73 at 4-5.

           D. “A method for installing casing in a wellbore containing… in the lower
              horizontal portion of the wellbore.” (Claims 22–25, 27, 50–53, and 55–57)

 NCS Multistage’s Proposed Construction               TCO AS’s Proposed Construction
 Not indefinite as a mixed method-apparatus           Indefinite as a mixed method-apparatus claim.
 claim.


       Due to their nearly identical nature, claim terms 9 and 10 which cover method claims 22

and 50 will be concurrently analyzed as mixed method-apparatus claims.

       The main dispute in these claims is whether NCS improperly mixed both method and

apparatus within the same claim, creating uncertainty as to when the claim is infringed upon.

ECF No. 69 at 9. NCS contends that the claim is an accepted and common format and that direct

infringement occurs on one of the two method steps. ECF No. 73 at 6. TCO asserts that claims




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22 and 50 recite both method and apparatus limitations, making it impossible for a party to know

when they are either infringing or contributorily infringing. ECF. No. 69 at 9.

       NCS opens by arguing that these claims are certainly method claims. ECF No. 67 at 10.

The preamble of claims 22 and 50 begin by stating “a method,” prompting the reader as to the

purpose of the claim. Id. The next two paragraphs comprise the body, beginning with the terms

“running” and “floating,” defining the action to which an infringer must take in order to infringe.

Proceeding these terms are descriptions of structures that are used in the method steps. Id.

Infringement in these claims, NCS argues, occurs by “running” and “floating,” not by “simply

making a sealed chamber with a rupture disc assembly and a lower seal.” Id. at 11.

       TCO responds with two arguments, that claims 22 and 50 recite both method steps and

apparatus limitations, and that prosecution history during the original application of the patent

reveals the patentee’s intent for a single claim covering both an apparatus and method of use of

that apparatus. ECF. No. 69 at 9-11. TCO censures NCS’s approach to the structuring of the

patent. Claims 22 and 50 are intended to be method claims, after stating each method step NCS

inserts a specific apparatus, the rupture disc assembly, to be used during the method step. Id. at

10. TCO cites IPXL Holdings, L.L.C. v. Amazon.com Inc., arguing that this organization is not

“sufficiently precise to provide competitors with an accurate determination of the ‘metes and

bounds’ of protection involved.” 430 F.3d 1377, 1384 (Fed. Cir. 2005); Id. at 10-11. Next, TCO

attempts to reveal the true intent of NCS during the patent prosecution. Id. at 11. The original

version of the ‘445 patent did not include the description of the rupture disc apparatus, and only

included the “running” and “floating” steps. Id. at 11. The patent examiner rejected this on two

grounds, this claim was “(1) anticipated by “Buoyancy Assist Extends Casing Reach in

Horizontal Well” by Rogers, et al.; and (2) non-statutory double patenting over a co-pending



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application, and previously issued patent.” Id. at 11-12. After rounds of clarification, NCS

ultimately remedied this situation by amending the apparatus claims 1 and 28 and including the

text into the method claims 22 and 50, respectively. Id. at 13. TCO argues that the initial addition

of the apparatus text, used for clarification in the method claims 22 and 50, and the rounds of

changes which focused on amending the apparatus claims and subsequently their use in the

method claim, revealed NCS’s intentions to procure a claim mixing the two. Id. at 16.

       The court rules that claim terms 9 and 10 are not indefinite as mixed-method and

apparatus claims for various reasons. First, the court now adopts similar reasoning used in

Animal Care Sys. v. Hydropac/Lab Prods., Civil Action No. 13-cv-00143-MSK-BNB, 2015 U.S.

Dist. LEXIS 15987, at *41 (D. Colo. Feb. 9, 2015). Specifically, an identical description of an

apparatus previously stated in a separate claim may be used in order to further define a

preceding, properly stated, and clear method within the same claim. If a claim is written in

accordance with these standards, such a claim will not be considered a “mixed-method and

apparatus claim” and will be permissible as a method claim. Claims 22 and 50 are an examples

of such claims. Here, a potential infringer clearly does not infringe by simply constructing the

apparatus. The infringement occurs when this specific apparatus is in a sequence of the two

methods stated, “running” then “floating” the apparatus. The court also disagrees with TCO’s

assertion that the true intentions of NCS were to create a mixed method apparatus claim and

were revealed during patent prosecution. NCS, in their initial submittal to the patent office,

included no detail beyond the method steps. ECF No. 69 at 11. If anything, this reveals the

opposite of TCO’s conclusion. NCS initially intended for these two claims to be nothing beyond

simple, short method claims, but the examiner required more detail. For the foregoing reasons,




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infringement undeniably occurs through violation of both of the method steps, and claims 22 and

50 are not “mixed method apparatus” claims.

  IV.     Summary

   No.            Claim Term                       Courts Final Construction

    1      Sealed Chamber                Plain and Ordinary Meaning

    2      Within the Upper and          Plain and Ordinary Meaning
           Lower Ends
    3      Preamble: “A float tool       No Construction Necessary
           configured for use in
           positioning a casing string
           in a wellbore…” (Claims 1,
           28, 30, and 31)
    4      “A method for installing      Not a “mixed method apparatus” claim
           casing in a wellbore
           containing… in the lower
           horizontal portion of the
           wellbore.” (Claims 22–25,
           27, 50–53, and 55–57)


SIGNED this 5th day of July, 2021.




                                            ALAN D ALBRIGHT
                                            UNITED STATES DISTRICT JUDGE




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